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UNITED STATES DISTRICT COURT

 

WESTERN DISTRICT OF TENNESSEE 05 JU?'% 2\ PH 5: 15
WESTERN DIVISION z §.\.;."GUO
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UNITED STATES OF AMERICA, ) @m| W l"§ c §i N P\.-’% EMPHYS
)
Petitioner )
)

v. ) Case No. 05-2410 BV
)
LARRY A. BULLOCK, )
)
Respondent )
ORDER DISMISSING CASE

 

Upon the Motion to Dismiss of the United States and for good cause shown, IT IS
THEREFORE

ORDERED that the Petition to Enforce IRS Summons be and is hereby dismissed.

Z®/WM

M'IEL BRE
D ST SN DISTRICT JUDGE

DATED: ll ;TO Od/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-024]0 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

Gary A. Vanasek

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Honorable J. Breen
US DISTRICT COURT

